                                                                                                              Case 10-79803-lrc                         Doc 1      Filed 07/06/10 Entered 07/06/10 11:36:37                                                   Desc Main
                                                                                               B1 (Official Form 1) (4/10)                                         Document Page 1 of 57
                                                                                                                                         United States Bankruptcy Court                                                                              Voluntary Petition
                                                                                                                                           Northern District of Georgia
                                                                                                Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                 Pistillo, Susan
                                                                                                All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                 fka Susan Chernow

                                                                                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                               (if more than one, state all): 7091                                               (if more than one, state all):

                                                                                                Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                 312 Addison Lane
                                                                                                 John's Creek, GA                                                     ZIPCODE                                                                                            ZIPCODE
                                                                                                                                                                         30005
                                                                                                County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:

                                                                                                 Fulton
                                                                                                Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                      ZIPCODE                                                                                            ZIPCODE

                                                                                                Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                         ZIPCODE

                                                                                                              Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
                                                                                                           (Form of Organization)                         (Check one box)                                                          the Petition is Filed (Check one box)
                                                                                                              (Check one box)                                 Health Care Business                                       Chapter 7
                                                                                                                                                              Single Asset Real Estate as defined in
                                                                                                                                                                                                                                                    Chapter 15 Petition for
                                                                                                   Individual (includes Joint Debtors)
                                                                                                                                                                                                                         Chapter 9                  Recognition of a Foreign
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                                                                                                   See Exhibit D on page 2 of this form.                      11 U.S.C. § 101 (51B)
                                                                                                                                                              Railroad                                                                              Main Proceeding
                                                                                                   Corporation (includes LLC and LLP)                                                                                    Chapter 11
                                                                                                   Partnership                                                Stockbroker                                                                           Chapter 15 Petition for
                                                                                                                                                                                                                          Chapter 12
                                                                                                   Other (If debtor is not one of the above entities,         Commodity Broker                                                                      Recognition of a Foreign
                                                                                                                                                                                                                         Chapter 13                 Nonmain Proceeding
                                                                                                   check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                              Other                                                                        Nature of Debts
                                                                                                                                                                                                                                           (Check one box)
                                                                                                                                                                                                                         Debts are primarily consumer
                                                                                                                                                                         Tax-Exempt Entity                               debts, defined in 11 U.S.C.                    Debts are primarily
                                                                                                                                                                       (Check box, if applicable)                        §101(8) as "incurred by an                     business debts
                                                                                                                                                                 Debtor is a tax-exempt organization                     individual primarily for a
                                                                                                                                                                 under Title 26 of the United States                     personal, family, or household
                                                                                                                                                                 Code (the Internal Revenue Code)                        purpose."
                                                                                                                           Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                       Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                           Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                       Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                       signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                       to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                             insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
                                                                                                                                                                                                              4/01/13 and every three years thereafter).
                                                                                                                                                                                                        Check all applicable boxes
                                                                                                       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                              A plan is being filed with this petition.
                                                                                                       attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                              Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                              more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                 Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                         COURT USE ONLY
                                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                   distribution to unsecured creditors.
                                                                                               Estimated Number of Creditors

                                                                                                1-49           50-99          100-199           200-999          1000-            5,001-            10,001-          25,001-          50,001-          Over
                                                                                                                                                                 5000             10,000            25,000           50,000           100,000          100,000
                                                                                               Estimated Assets

                                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                               $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                               million        million          million         million             million
                                                                                               Estimated Liabilities

                                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001         $100,000,001     $500,000,001      More than
                                                                                               $50,000        $100,000       $500,000          to $1          to $10           to $50          to $100             to $500          to $1 billion     $1 billion
                                                                                                                                               million        million          million         million             million
                                                                                                        Case
                                                                                               B1 (Official Form10-79803-lrc
                                                                                                                 1) (4/10)                       Doc 1          Filed 07/06/10 Entered 07/06/10 11:36:37                                               Desc Main                 Page 2
                                                                                                                                                                Document Page 2 of 57
                                                                                               Voluntary Petition                                                                           Name of Debtor(s):
                                                                                               (This page must be completed and filed in every case)                                       Susan Pistillo
                                                                                                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                               Location                                                                              Case Number:                                          Date Filed:
                                                                                               Where Filed:           NONE

                                                                                                Location                                                                             Case Number:                                          Date Filed:
                                                                                                Where Filed:
                                                                                                                N.A.
                                                                                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                                District:                                                                            Relationship:                                          Judge:


                                                                                                                               Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                 (To be completed if debtor is an individual
                                                                                               (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                               10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                               Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                       the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                               relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                       I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).



                                                                                                        Exhibit A is attached and made a part of this petition.                        X         /s/ Kevin Cowart                                        7/5/2010
                                                                                                                                                                                             Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                             Exhibit C
                                                                                               Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                        Yes, and Exhibit C is attached and made a part of this petition.
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                                                                                                        No


                                                                                                                                                                              Exhibit D
                                                                                                 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                If this is a joint petition:
                                                                                                            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                           Information Regarding the Debtor - Venue
                                                                                                                                                                        (Check any applicable box)
                                                                                                                        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                        or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                        court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                         (Check all applicable boxes)
                                                                                                                        Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                        (Name of landlord that obtained judgment)


                                                                                                                                                                         (Address of landlord)
                                                                                                                        Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                        entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                        Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                        period after the filing of the petition.
                                                                                                                        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                               Voluntary Petition                                                                     Name of Debtor(s):
                                                                                               (This page must be completed and filed in every case)                                 Susan Pistillo
                                                                                                                                                                              Signatures
                                                                                                           Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                 I declare under penalty of perjury that the information provided in this petition
                                                                                                 is true and correct.
                                                                                                 [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                 has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                 chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                 available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United States
                                                                                                 I request relief in accordance with the chapter of title 11, United States                      Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                 Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                 Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                 title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                 recognition of the foreign main proceeding is attached.
                                                                                                 X /s/ Susan Pistillo
                                                                                                     Signature of Debtor                                                                X
                                                                                                                                                                                            (Signature of Foreign Representative)
                                                                                                 X
                                                                                                     Signature of Joint Debtor

                                                                                                                                                                                             (Printed Name of Foreign Representative)
                                                                                                      Telephone Number (If not represented by attorney)

                                                                                                      7/5/2010
                                                                                                                                                                                              (Date)
                                                                                                      Date
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                                                                                                                      Signature of Attorney*
                                                                                                X       /s/ Kevin Cowart                                                                         Signature of Non-Attorney Petition Preparer
                                                                                                     Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                       as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                     KEVIN COWART 191898                                                               and have provided the debtor with a copy of this document and the notices
                                                                                                     Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                       and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                       3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                     The Cowart Law Firm P.C.                                                          setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                     Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                     311 N. Main Street, Suite 200                                                     document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                     Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                     Madison, GA 30650
                                                                                                                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                     404-456-0403
                                                                                                    Telephone Number
                                                                                                                                                                                       Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                     7/5/2010                                                                          state the Social Security number of the officer, principal, responsible person or
                                                                                                   Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                certification that the attorney has no knowledge after an inquiry that the
                                                                                                information in the schedules is incorrect.                                              Address

                                                                                                        Signature of Debtor (Corporation/Partnership)
                                                                                                  I declare under penalty of perjury that the information provided in this petition
                                                                                                  is true and correct, and that I have been authorized to file this petition on       X
                                                                                                  behalf of the debtor.

                                                                                                  The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                  United States Code, specified in this petition.
                                                                                                                                                                                          Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                          person, or partner whose Social Security number is provided above.
                                                                                                X
                                                                                                     Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                          assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                          not an individual:
                                                                                                     Printed Name of Authorized Individual
                                                                                                                                                                                          If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                          conforming to the appropriate official form for each person.
                                                                                                     Title of Authorized Individual
                                                                                                                                                                                          A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                          and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                    Date
                                                                                                                                                                                          imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                     Case 10-79803-lrc                 Doc 1   Filed 07/06/10 Entered 07/06/10 11:36:37   Desc Main
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                                                                                               B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                               Northern District of Georgia




                                                                                                     Susan Pistillo
                                                                                               In re______________________________________                                Case No._____________
                                                                                                               Debtor(s)                                                        (if known)


                                                                                                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                          CREDIT COUNSELING REQUIREMENT

                                                                                                       Warning: You must be able to check truthfully one of the five statements regarding
                                                                                               credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                               case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                               filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                               you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                               required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                               collection activities.
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                                                                                                      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                               must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                               any documents as directed.

                                                                                                      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                               services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                               developed through the agency.

                                                                                                       2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                               the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                               services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                               no later than 14 days after your bankruptcy case is filed.
                                                                                                     Case 10-79803-lrc                Doc 1     Filed 07/06/10 Entered 07/06/10 11:36:37   Desc Main
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                                                                                               B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                               Page 2


                                                                                                       3. I certify that I requested credit counseling services from an approved agency but
                                                                                               was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                               following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                               so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                      If your certification is satisfactory to the court, you must still obtain the credit
                                                                                               counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                               promptly file a certificate from the agency that provided the counseling, together with a
                                                                                               copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                               requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                               can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                               be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                               without first receiving a credit counseling briefing.

                                                                                                      4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                               applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                      illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                      decisions with respect to financial responsibilities.);
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                                                                                                              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                      extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                      briefing in person, by telephone, or through the Internet.);
                                                                                                              Active military duty in a military combat zone.

                                                                                                      5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                               counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                      I certify under penalty of perjury that the information provided above is true and
                                                                                               correct.



                                                                                                                            Signature of Debtor:             /s/ Susan Pistillo
                                                                                                                                                            SUSAN PISTILLO

                                                                                                                                                         7/5/2010
                                                                                                                                                Date: _________________
                                                                                               Case 10-79803-lrc       Doc 1       Filed 07/06/10 Entered 07/06/10 11:36:37            Desc Main
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                                                                                                 B6 Cover (Form 6 Cover) (12/07)



                                                                                                 FORM 6. SCHEDULES

                                                                                                 Summary of Schedules
                                                                                                 Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                 Schedule A - Real Property
                                                                                                 Schedule B - Personal Property
                                                                                                 Schedule C - Property Claimed as Exempt
                                                                                                 Schedule D - Creditors Holding Secured Claims
                                                                                                 Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                 Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                 Schedule G - Executory Contracts and Unexpired Leases
                                                                                                 Schedule H - Codebtors
                                                                                                 Schedule I - Current Income of Individual Debtor(s)
                                                                                                 Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                 Unsworn Declaration under Penalty of Perjury
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                                                                                                 GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                 amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                 identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                 the case number should be left blank

                                                                                                 Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                 claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                 A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                 which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                 the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                 transactions, each claim should be scheduled separately.

                                                                                                 Review the specific instructions for each schedule before completing the schedule.
                                                                                                            Case 10-79803-lrc
                                                                                               B6A (Official Form 6A) (12/07)
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                                                                                               In re    Susan Pistillo                                                                        Case No.
                                                                                                                          Debtor                                                                                                    (If known)

                                                                                                                                               SCHEDULE A - REAL PROPERTY
                                                                                                  Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                               tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                               the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                               “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                               “Description and Location of Property.”

                                                                                                 Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                               Unexpired Leases.

                                                                                                   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                               claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                               Property Claimed as Exempt.




                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                              CURRENT VALUE
                                                                                                                                                                                                                                OF DEBTOR’S
                                                                                                             DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN        AMOUNT OF
                                                                                                                    OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT       SECURED
                                                                                                                                                                                                                              DEDUCTING ANY          CLAIM
                                                                                                                                                                                                                              SECURED CLAIM
                                                                                                                                                                                                                               OR EXEMPTION
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                                                                                                Former Residence                                              JTWROS                                                               422,000.00         438,241.00
                                                                                                15 Princeton Avenue
                                                                                                Hewlett, NY 11557-1521




                                                                                                                                                                                             Total
                                                                                                                                                                                                                                   422,000.00

                                                                                                                                                                                             (Report also on Summary of Schedules.)
                                                                                                                Case 10-79803-lrc                       Doc 1   Filed 07/06/10 Entered 07/06/10 11:36:37                                         Desc Main
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                                                                                               In re     Susan Pistillo                                                                     Case No.
                                                                                                                                 Debtor                                                                             (If known)

                                                                                                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                               place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                               identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                               community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                               individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                               Unexpired Leases.

                                                                                                     If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                               If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                               "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                                                                                                            OR COMMUNITY
                                                                                                                                                                                                                                                 DEBTOR’S INTEREST
                                                                                                                                                        N                                                                                           IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                             O                DESCRIPTION AND LOCATION                                                     WITHOUT
                                                                                                                                                        N                      OF PROPERTY                                                        DEDUCTING ANY
                                                                                                                                                        E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                   OR EXEMPTION


                                                                                                 1. Cash on hand.                                       X
                                                                                                 2. Checking, savings or other financial accounts,          Savings Account                                                                                50.00
                                                                                                 certificates of deposit, or shares in banks, savings
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                                                                                                 and loan, thrift, building and loan, and homestead         Chase
                                                                                                 associations, or credit unions, brokerage houses,
                                                                                                 or cooperatives.
                                                                                                                                                            Checking Account                                                                              100.00
                                                                                                                                                            Chase

                                                                                                 3. Security deposits with public utilities,            X
                                                                                                 telephone companies, landlords, and others.

                                                                                                 4. Household goods and furnishings, including              Household Goods                                                                             1,100.00
                                                                                                 audio, video, and computer equipment.
                                                                                                                                                            Residence

                                                                                                 5. Books. Pictures and other art objects,              X
                                                                                                 antiques, stamp, coin, record, tape, compact disc,
                                                                                                 and other collections or collectibles.

                                                                                                 6. Wearing apparel.                                        Clothing                                                                                      300.00
                                                                                                                                                            Residence

                                                                                                 7. Furs and jewelry.                                       Jewelry                                                                                       300.00
                                                                                                                                                            Residence

                                                                                                 8. Firearms and sports, photographic, and other        X
                                                                                                 hobby equipment.

                                                                                                 9. Interests in insurance policies. Name               X
                                                                                                 insurance company of each policy and itemize
                                                                                                 surrender or refund value of each.

                                                                                                 10. Annuities. Itemize and name each issuer.           X
                                                                                               B6B (OfficialCase  10-79803-lrc
                                                                                                            Form 6B) (12/07) -- Cont.                   Doc 1   Filed 07/06/10 Entered 07/06/10 11:36:37                            Desc Main
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                                                                                               In re     Susan Pistillo                                                                      Case No.
                                                                                                                                  Debtor                                                                (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                        N                                                                              IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                             O                   DESCRIPTION AND LOCATION                                     WITHOUT
                                                                                                                                                        N                         OF PROPERTY                                        DEDUCTING ANY
                                                                                                                                                        E                                                                            SECURED CLAIM
                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                 11. Interests in an education IRA as defined in 26     X
                                                                                                 U.S.C. § 530(b)(1) or under a qualified State
                                                                                                 tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                 Give particulars. (File separately the record(s) of
                                                                                                 any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                 12. Interests in IRA, ERISA, Keogh, or other               401k                                                                          10,500.00
                                                                                                 pension or profit sharing plans. Give particulars.
                                                                                                                                                            T. Rowe Price

                                                                                                 13. Stock and interests in incorporated and            X
                                                                                                 unincorporated businesses. Itemize.

                                                                                                 14. Interests in partnerships or joint ventures.       X
                                                                                                 Itemize.
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                                                                                                 15. Government and corporate bonds and other           X
                                                                                                 negotiable and non-negotiable instruments.

                                                                                                 16. Accounts receivable.                               X
                                                                                                 17. Alimony, maintenance, support, and property        X
                                                                                                 settlement to which the debtor is or may be
                                                                                                 entitled. Give particulars.

                                                                                                 18. Other liquidated debts owing debtor including      X
                                                                                                 tax refunds. Give particulars.

                                                                                                 19. Equitable or future interests, life estates, and   X
                                                                                                 rights or powers exercisable for the benefit of the
                                                                                                 debtor other than those listed in Schedule A -
                                                                                                 Real Property.

                                                                                                 20. Contingent and noncontingent interests in          X
                                                                                                 estate or a decedent, death benefit plan, life
                                                                                                 insurance policy, or trust.

                                                                                                 21. Other contingent and unliquidated claims of        X
                                                                                                 every nature, including tax refunds, counterclaims
                                                                                                 of the debtor, and rights of setoff claims. Give
                                                                                                 estimated value of each.

                                                                                                 22. Patents, copyrights, and other intellectual        X
                                                                                                 property. Give particulars.

                                                                                                 23. Licenses, franchises, and other general            X
                                                                                                 intangibles. Give particulars.

                                                                                                 24. Customer lists or other compilations               X
                                                                                                 containing personally identifiable information (as
                                                                                                 defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                 debtor by individuals in connection with obtaining
                                                                                                 a product or service from the debtor primarily for
                                                                                                 personal, family, or household purposes.
                                                                                                          Case
                                                                                               B6B (Official      10-79803-lrc
                                                                                                             Form 6B) (12/07) -- Cont.              Doc 1   Filed 07/06/10 Entered 07/06/10 11:36:37                                                  Desc Main
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                                                                                               In re     Susan Pistillo                                                                     Case No.
                                                                                                                                 Debtor                                                                              (If known)

                                                                                                                                                SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                      CURRENT VALUE OF




                                                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                                                      DEBTOR’S INTEREST
                                                                                                                                                    N                                                                                                    IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                         O                 DESCRIPTION AND LOCATION                                                             WITHOUT
                                                                                                                                                    N                       OF PROPERTY                                                                DEDUCTING ANY
                                                                                                                                                    E                                                                                                  SECURED CLAIM
                                                                                                                                                                                                                                                        OR EXEMPTION


                                                                                                 25. Automobiles, trucks, trailers, and other           2003 Ford Explorer (not running) 134,000 miles                                                         900.00
                                                                                                 vehicles and accessories.
                                                                                                                                                        Residence

                                                                                                                                                        2004 300M (65,000 miles)                                                                             6,690.00
                                                                                                                                                        Residence

                                                                                                                                                        2009 Chevy HHR (2,500 miles)                                                                        11,280.00
                                                                                                                                                        Residence

                                                                                                 26. Boats, motors, and accessories.                X
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                                                                                                 27. Aircraft and accessories.                      X
                                                                                                 28. Office equipment, furnishings, and supplies.   X
                                                                                                 29. Machinery, fixtures, equipment, and supplies   X
                                                                                                 used in business.

                                                                                                 30. Inventory.                                     X
                                                                                                 31. Animals.                                       X
                                                                                                 32. Crops - growing or harvested. Give             X
                                                                                                 particulars.

                                                                                                 33. Farming equipment and implements.              X
                                                                                                 34. Farm supplies, chemicals, and feed.            X
                                                                                                 35. Other personal property of any kind not        X
                                                                                                 already listed. Itemize.




                                                                                                                                                                           0                                                                          $
                                                                                                                                                                                   continuation sheets attached        Total                                31,220.00
                                                                                                                                                                                   (Include amounts from any continuation
                                                                                                                                                                                     sheets attached. Report total also on
                                                                                                                                                                                           Summary of Schedules.)
                                                                                                             Case 10-79803-lrc            Doc 1       Filed 07/06/10 Entered 07/06/10 11:36:37                           Desc Main
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                                                                                               In re     Susan Pistillo                                                                 Case No.
                                                                                                                          Debtor                                                                               (If known)

                                                                                                                          SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                 Debtor claims the exemptions to which debtor is entitled under:
                                                                                                 (Check one box)

                                                                                                       11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                       $146,450*.
                                                                                                       11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                          CURRENT
                                                                                                                                                              SPECIFY LAW                         VALUE OF           VALUE OF PROPERTY
                                                                                                            DESCRIPTION OF PROPERTY                         PROVIDING EACH                        CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                               EXEMPTION                         EXEMPTION               EXEMPTION


                                                                                                  Savings Account                                 OCGA §44-13-100(6)                                       50.00                      50.00

                                                                                                  Checking Account                                OCGA §44-13-100(6)                                     100.00                      100.00

                                                                                                  Household Goods                                 OCGA §44-13-100(4)                                    1,100.00                   1,100.00

                                                                                                  Clothing                                        OCGA §44-13-100(4)                                     300.00                      300.00

                                                                                                  Jewelry                                         OCGA §44-13-100(4)                                     300.00                      300.00
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                                                                                                  401k                                            OCGA §44-13-100(2)(E)                               10,500.00                   10,500.00

                                                                                                  2003 Ford Explorer (not running) 134,000        OCGA §44-13-100(3)                                     900.00                      900.00
                                                                                                  miles

                                                                                                  2004 300M (65,000 miles)                        OCGA §44-13-100(3)                                    2,600.00                   6,690.00
                                                                                                                                                  OCGA §44-13-100(6)                                    4,090.00

                                                                                                                                                  Total exemptions claimed:                           19,940.00




                                                                                                 *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                         Case 10-79803-lrc               Doc 1                             Filed 07/06/10 Entered 07/06/10 11:36:37                                                         Desc Main
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                                                                                               B6D (Official Form 6D) (12/07)

                                                                                                        Susan Pistillo
                                                                                               In re _______________________________________________,                                                                       Case No. _________________________________
                                                                                                                             Debtor                                                                                                                                        (If known)

                                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                         State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                               by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                               useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                               such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                          List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                               address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                               §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                               include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                               husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                               "Husband, Wife, Joint, or Community."
                                                                                                         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                               labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                               one of these three columns.)
                                                                                                         Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                               labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                               Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                               the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                                      AMOUNT
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                          UNLIQUIDATED
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                                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                                                    DATE CLAIM WAS INCURRED,                                                             OF
                                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                         DISPUTED
                                                                                                                                                            ORCOMMUNITY




                                                                                                          CREDITOR’S NAME,
                                                                                                           MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                             CLAIM            UNSECURED
                                                                                                         INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                               WITHOUT            PORTION,
                                                                                                        AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                             DEDUCTING            IF ANY
                                                                                                          (See Instructions Above.)                                                      SUBJECT TO LIEN                                                              VALUE OF
                                                                                                                                                                                                                                                                    COLLATERAL


                                                                                               ACCOUNT NO. 3530075                                                              Incurred: 6/10                                                                                            4,721.43
                                                                                               Capital One Auto Finance                                                         Lien: PMSI in vehicle < 910 days
                                                                                               3905 North Dallas Pkwy                                                           Security: 2009 Chevy HHR
                                                                                                                                                                                                                                                                       16,001.43
                                                                                               Plano, TX 75093

                                                                                                                                                                                 VALUE $                    11,280.00
                                                                                               ACCOUNT NO. 71792550                                                             HIGH CREDIT AMOUNT IS ORIGINAL LOAN
                                                                                                                                                                                AMOUNT                                                                                                  438,241.00
                                                                                                                                                                                FORECLOSURE PROCEEDING STARTED
                                                                                               OCWEN LOAN SERVICING L                                                           ACCOUNT DELINQUENT 180 DAYS PAST DUE DATE
                                                                                                                                                                                FORECLOSURE PROCEEDINGS STARTED
                                                                                               12650 INGENUITY DR                                                               CONVENTIONAL REAL ESTATE LOAN                                                         438,241.00
                                                                                               ORLANDO, FL 32826

                                                                                                                                                                                 VALUE $                           0.00
                                                                                               ACCOUNT NO.




                                                                                                                                                                                 VALUE $

                                                                                                  0
                                                                                                _______continuation sheets attached                                                                                      Subtotal     $ 454,242.43                                 $ 442,962.43
                                                                                                                                                                                                                 (Total of this page)
                                                                                                                                                                                                                             Total    $ 454,242.43                                 $ 442,962.43
                                                                                                                                                                                                              (Use only on last page)
                                                                                                                                                                                                                                                          (Report also on       (If applicable, report
                                                                                                                                                                                                                                                          Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                Summary of Certain
                                                                                                                                                                                                                                                                                Liabilities and Related
                                                                                                                                                                                                                                                                                Data.)
                                                                                                         Case 10-79803-lrc                Doc 1         Filed 07/06/10 Entered 07/06/10 11:36:37                                      Desc Main
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                                                                                               B6E (Official Form 6E) (04/10)


                                                                                                          Susan Pistillo
                                                                                                  In re________________________________________________________________,                             Case No.______________________________
                                                                                                                          Debtor                                                                                   (if known)

                                                                                                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                 address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                 property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                 the type of priority.

                                                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                 the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                 both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                 Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                 in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                 more than one of these three columns.)

                                                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                 Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                 amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                 primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.
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                                                                                                          Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                 amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                 with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                 Data.



                                                                                                     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                TYPES OF PRIORITY CLAIMS                   (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)



                                                                                                      Domestic Support Obligations

                                                                                                     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                               or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                               11 U.S.C. § 507(a)(1).


                                                                                                      Extensions of credit in an involuntary case

                                                                                                     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                               appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                      Wages, salaries, and commissions

                                                                                                        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                      Contributions to employee benefit plans

                                                                                                           Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                         *Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                             Susan Pistillo
                                                                                                     In re________________________________________________________________,                      Case No.______________________________
                                                                                                                             Debtor                                                                            (if known)




                                                                                                      Certain farmers and fishermen
                                                                                                    Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                      Deposits by individuals
                                                                                                    Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                      Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                      Commitments to Maintain the Capital of an Insured Depository Institution
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                                                                                                   Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                U.S.C. § 507 (a)(9).



                                                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                 * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                 adjustment.




                                                                                                                                                          1 continuation sheets attached
                                                                                                                                                         ____
                                                                                                         Case 10-79803-lrc                  Doc 1                                  Filed 07/06/10 Entered 07/06/10 11:36:37                                                       Desc Main
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                                                                                                        Susan Pistillo
                                                                                                 In re __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                                   Debtor                                                                                                                                     (If known)

                                                                                                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                          (Continuation Sheet)                                           Sec. 507(a)(8)

                                                                                                                                                                                                                                                    Type of Priority for Claims Listed on This Sheet




                                                                                                                                                            HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                          UNLIQUIDATED
                                                                                                                                                              ORCOMMUNITY




                                                                                                                                                                                                             CONTINGENT
                                                                                                                                                                                                                                                                                             AMOUNT

                                                                                                                                                 CODEBTOR
                                                                                                           CREDITOR’S NAME,                                                          DATE CLAIM WAS




                                                                                                                                                                                                                                         DISPUTED
                                                                                                           MAILING ADDRESS                                                            INCURRED AND                                                        AMOUNT            AMOUNT             NOT
                                                                                                         INCLUDING ZIP CODE,                                                         CONSIDERATION                                                          OF            ENTITLED TO       ENTITLED
                                                                                                        AND ACCOUNT NUMBER                                                              FOR CLAIM                                                          CLAIM           PRIORITY            TO
                                                                                                          (See instructions above..)                                                                                                                                                       PRIORITY, IF
                                                                                                                                                                                                                                                                                               ANY

                                                                                               ACCOUNT NO.
                                                                                                                 XXXX-XX-7091                                                       Consideration: Taxes
                                                                                               Department of the Treasury
                                                                                               Internal Revenue Service                                                                                                                                     6,359.31           6,359.31            0.00
                                                                                               Atlanta, GA 39901-0010



                                                                                               ACCOUNT NO.
                                                                                                                 00219                                                              Incurred: 6/30/2010
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                                                                                               Donald X. Clavin, Jr.                                                                Consideration:
                                                                                               Town of Hempstead                                                                    School Taxes
                                                                                                                                                                                                                                                            8,156.02           8,156.02            0.00
                                                                                               200 N. Franklin Street
                                                                                               Hempstead, New York 11550


                                                                                               ACCOUNT NO.




                                                                                               ACCOUNT NO.




                                                                                                          1 of ___continuation
                                                                                                                1                                                                                        Subtotal                                    $     14,515.33      $                $
                                                                                               Sheet no. ___                    sheets attached to Schedule of                                  (Totals of this page)
                                                                                               Creditors Holding Priority Claims
                                                                                                                                                                                                          Total                                      $     14,515.33
                                                                                                                                                             (Use only on last page of the completed
                                                                                                                                                             Schedule E.) Report also on the Summary
                                                                                                                                                             of Schedules)

                                                                                                                                                                                                           Totals                                    $                    $   14,515.33     $      0.00
                                                                                                                                                             (Use only on last page of the completed
                                                                                                                                                             Schedule E. If applicable, report also on
                                                                                                                                                             the Statistical Summary of Certain
                                                                                                                                                             Liabilities and Related Data.)
                                                                                                           Case 10-79803-lrc                   Doc 1                              Filed 07/06/10 Entered 07/06/10 11:36:37                                                  Desc Main
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                                                                                               B6F (Official Form 6F) (12/07)

                                                                                                        Susan Pistillo
                                                                                                In re __________________________________________,                                                                    Case No. _________________________________
                                                                                                                               Debtor                                                                                                                            (If known)

                                                                                                     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                          Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                Related Data.
                                                                                                         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                    CODEBTOR




                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                           CREDITOR’S NAME,                                                                                                                                                     AMOUNT
                                                                                                            MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                         OF
                                                                                                          INCLUDING ZIP CODE,                                                                                                                                                    CLAIM
                                                                                                         AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                           (See instructions above.)
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                                                                                               ACCOUNT NO.         1130902110 12090730374                                             Consideration: Utility
                                                                                               Allied Account Services Inc.                                                           Collecting for KeySpan Gas East Corp.
                                                                                               422 Bedford Ave.                                                                                                                                                                 Notice Only
                                                                                               Bellmore, NY 11710-3564



                                                                                               ACCOUNT NO.         0931866799-00000-010                                               Consideration: Insurance
                                                                                               Allstate Insurance Company                                                             Placed for collection
                                                                                               P.O. Box 12055                                                                                                                                                                            287.21
                                                                                               Roanoke, VA 24018



                                                                                               ACCOUNT NO.         ALR07632946898                                                     Consideration: Insurance
                                                                                               American Security Insurance Company
                                                                                               PO Box 50355                                                                                                                                                                            3,930.00
                                                                                               Atlanta, GA 30302



                                                                                                                   011248570011320811                                                 ACCOUNT/PAID SATISFACTORILY
                                                                                               ACCOUNT NO.                                                                            THIS IS AN ACCOUNT IN GOOD STANDING
                                                                                               AMEX                                                                                   PAID ACCOUNT/ZERO BALANCE
                                                                                                                                                                                      ACCOUNT CLOSED AT CREDIT GRANTOR'S REQUEST
                                                                                               PO BOX 297871                                                                          CREDIT CARD                                                                               Notice Only
                                                                                               FORT LAUDERDALE, FL 33329




                                                                                                     7
                                                                                                   _______continuation sheets attached                                                                                             Subtotal                                 $          4,217.21
                                                                                                                                                                                                                   Total                                                    $
                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                      Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      30647752                                                          ACCOUNT CLOSED DUE TO
                                                                                               BAC HOME LOANS SERVICI                                                             REFINANCE
                                                                                               450 AMERICAN ST                                                                    CONVENTIONAL REAL ESTATE LOAN
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               SIMI VALLEY, CA 93065



                                                                                               ACCOUNT NO.      46706150                                                          ACCOUNT CLOSED DUE TO
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                                                                                               BAC HOME LOANS SERVICI                                                             REFINANCE
                                                                                               450 AMERICAN ST                                                                    HOME EQUITY LOAN
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               SIMI VALLEY, CA 93065



                                                                                               ACCOUNT NO.      44303880007                                                       HIGH CREDIT AMOUNT IS ORIGINAL LOAN AMOUNT
                                                                                                                                                                                  ACCOUNT/PAID SATISFACTORILY
                                                                                               BALLY TOTAL FITNESS                                                                THIS IS AN ACCOUNT IN GOOD STANDING
                                                                                                                                                                                  PAID ACCOUNT/ZERO BALANCE
                                                                                               12440 E IMPERIAL HWY #30                                                           INSTALLMENT SALES CONTRACT                                                                         Notice Only
                                                                                               NORWALK, CA 90650



                                                                                               ACCOUNT NO.      2580                                                              ACCOUNT CLOSED BY CREDIT
                                                                                               BANK OF AMERICA                                                                    GRANTOR
                                                                                               PO BOX 17054                                                                       CREDIT CARD
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               WILMINGTON, DE 19850



                                                                                                ACCOUNT NO.     3467                                                              ACCOUNT CLOSED BY CREDIT
                                                                                               BANK OF AMERICA                                                                    GRANTOR
                                                                                               PO BOX 17054                                                                       CREDIT CARD
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               WILMINGTON, DE 19850



                                                                                                          1 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $                 0.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      Case No. 2009CV172801                                             Garnishment
                                                                                               Brea Atlanta Gardens, LLC
                                                                                               40 TECHNOLOGY PKWY SOUTH                                                                                                                                                              Notice Only
                                                                                               SUITE #300
                                                                                               NORCROSS, GA 30092


                                                                                               ACCOUNT NO.      03-92296240                                                       Collecting for Verizon
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                                                                                               CBCS
                                                                                               PO Box 163250                                                                                                                                                                         Notice Only
                                                                                               Columbus, OH 43216-3250



                                                                                               ACCOUNT NO.      424631511865                                                      ACCOUNT LEGALLY PAID IN FULL FOR LESS
                                                                                                                                                                                  THAN THE FULL BALANCE
                                                                                               CHASE                                                                              ACCOUNT DELINQUENT 180 DAYS PAST DUE
                                                                                               PO BOX 15298                                                                       DATE
                                                                                                                                                                                  CREDIT CARD
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               WILMINGTON, DE 19850



                                                                                               ACCOUNT NO.      7000165255                                                        CLOSED OR PAID ACCOUNT/ZERO
                                                                                               CHRYSLER FINANCIAL                                                                 BALANCE
                                                                                               1 BLUE HILL PLZ STE 15                                                             AUTO LEASE
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               PEARL RIVER, NY 10965



                                                                                                ACCOUNT NO.     1010216477                                                        CLOSED OR PAID ACCOUNT/ZERO
                                                                                               CHRYSLER FINANCIAL                                                                 BALANCE
                                                                                               5225 CROOKS RD STE 140                                                             AUTO
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               TROY, MI 48098



                                                                                                          2 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $                 0.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      15686762                                                          ACCOUNT CLOSED BY CONSUMER
                                                                                               CITIBANKNA                                                                         CHECK CREDIT OR LINE OF CREDIT
                                                                                               PO BOX 769006                                                                                                                                                                         Notice Only
                                                                                               SAN ANTONIO, TX 78245



                                                                                               ACCOUNT NO.      4238400143                                                        SINGLE PAYMENT LOAN
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                                                                                               CONNEXUS CREDIT UNION                                                              UNSECURED LOAN
                                                                                               PO BOX 8026                                                                                                                                                                           Notice Only
                                                                                               WAUSAU, WI 54402



                                                                                               ACCOUNT NO.      4238400144                                                        CLOSED
                                                                                               CONNEXUS CREDIT UNION                                                              UNSECURED LOAN
                                                                                               PO BOX 8026                                                                                                                                                                           Notice Only
                                                                                               WAUSAU, WI 54402



                                                                                               ACCOUNT NO.      11982                                                             HIGH CREDIT AMOUNT IS ORIGINAL LOAN AMOUNT
                                                                                                                                                                                  ACCOUNT SERIOUSLY PAST DUE DATE/ACCOUNT
                                                                                               CONSUMERS ENERGY GROUP                                                             ASSIGNED TO ATTORNEY, COLLECTION AGENCY, OR
                                                                                                                                                                                  CREDIT GRANTOR'S INTERNAL COLLECTION
                                                                                               222 VARNICK AVE                                                                    DEPARTMENT                                                                                         Notice Only
                                                                                               BROOKLYN, NY 11237                                                                 UTILITY COMPANY




                                                                                                ACCOUNT NO.     601100243755                                                      ACCOUNT CLOSED BY CREDIT
                                                                                               DISCOVER FIN SVCS LLC                                                              GRANTOR
                                                                                               PO BOX 15316                                                                       CREDIT CARD
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               WILMINGTON, DE 19850



                                                                                                          3 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $                 0.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      22920600                                                          HIGH CREDIT AMOUNT IS ORIGINAL LOAN AMOUNT
                                                                                                                                                                                  ACCOUNT/PAID SATISFACTORILY
                                                                                               FORD CRED                                                                          THIS IS AN ACCOUNT IN GOOD STANDING
                                                                                                                                                                                  PAID ACCOUNT/ZERO BALANCE
                                                                                               PO BOX BOX 542000                                                                  AUTO LEASE                                                                                         Notice Only
                                                                                               OMAHA, NE 68154



                                                                                               ACCOUNT NO.      34244589                                                          CLOSED
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                                                                                               FORD CRED                                                                          AUTO LOAN
                                                                                               PO BOX BOX 542000                                                                                                                                                                     Notice Only
                                                                                               OMAHA, NE 68154



                                                                                               ACCOUNT NO.      6019170323692506                                                  ACCOUNT CLOSED BY CREDIT
                                                                                               GEMB/PC RICHARD                                                                    GRANTOR
                                                                                               PO BOX 981439                                                                      CHARGE ACCOUNT
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               EL PASO, TX 79998



                                                                                               ACCOUNT NO.      4800107800674                                                     TRANSFERRED TO ANOTHER LENDER
                                                                                               GREEN POINT SAVINGS                                                                CONVENTIONAL REAL ESTATE LOAN
                                                                                               4160 MAIN ST                                                                                                                                                                          Notice Only
                                                                                               FLUSHING, NY 11355



                                                                                                ACCOUNT NO.     420030589210                                                      CHARGED OFF ACCOUNT
                                                                                                                                                                                  ACCOUNT CLOSED BY CREDIT GRANTOR
                                                                                               HSBC BANK                                                                          BAD DEBT; PLACED FOR COLLECTION;
                                                                                               PO BOX 19360                                                                       SKIP                                                                                                      1,489.00
                                                                                               PORTLAND, OR 97280



                                                                                                          4 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $          1,489.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      690024176211                                                      CHARGED OFF ACCOUNT
                                                                                                                                                                                  ACCOUNT CLOSED BY CREDIT GRANTOR
                                                                                               HSBC BANK                                                                          BAD DEBT; PLACED FOR COLLECTION;
                                                                                               PO BOX 19360                                                                       SKIP                                                                                                       833.00
                                                                                               PORTLAND, OR 97280



                                                                                               ACCOUNT NO.      780000858117                                                      CHARGED OFF ACCOUNT
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                                                                                                                                                                                  ACCOUNT CLOSED BY CREDIT GRANTOR
                                                                                               HSBC BANK                                                                          BAD DEBT; PLACED FOR COLLECTION;
                                                                                               PO BOX 19360                                                                       SKIP                                                                                                       705.00
                                                                                               PORTLAND, OR 97280



                                                                                               ACCOUNT NO.      5477046996                                                        CLOSED
                                                                                               HSBC MORTGAGE CORP USA                                                             CONVENTIONAL REAL ESTATE LOAN
                                                                                               2929 WALDEN AVE                                                                                                                                                                       Notice Only
                                                                                               DEPEW, NY 14043



                                                                                               ACCOUNT NO.      31450706-1-59                                                     Collecting for National Grid East
                                                                                               I.C. System, Inc.
                                                                                               PO Box 64437                                                                                                                                                                          Notice Only
                                                                                               St. Paul, MN 55164-0437



                                                                                                ACCOUNT NO.     264 2688749                                                       Consideration: Medical Services
                                                                                               Johns Creek Surgery PC
                                                                                               PO Box 347226                                                                                                                                                                                 185.00
                                                                                               Miami, FL 33234-7226



                                                                                                          5 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $          1,723.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      1130902110 12090730374                                            Consideration: Utility
                                                                                               KeySpan Gas East Corp.                                                             Placed for collection
                                                                                               175 E Old Country Rd                                                                                                                                                                         1,249.73
                                                                                               Hicksville, NY 11801-4257



                                                                                               ACCOUNT NO.      052553770052                                                      CREDIT CARD
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                                                                                               KOHLS/CHASE
                                                                                               N56 W 17000 RIDGEWOOD DR                                                                                                                                                                      215.00
                                                                                               MENOMONEE FALLS, WI 53051



                                                                                               ACCOUNT NO.      20000110337431001                                                 CLOSED
                                                                                               LONG BEACH ACCEPTANCE                                                              AUTO LOAN
                                                                                               500 N STATE COLLEGE BLVD                                                                                                                                                              Notice Only
                                                                                               ORANGE, CA 92868



                                                                                               ACCOUNT NO.      XX-XXXXXXX-9                                                      Consideration: Utility
                                                                                               Long Island American Water
                                                                                               PO Box 371332                                                                                                                                                                                 143.39
                                                                                               Pittsburgh, PA 15250-7332



                                                                                                ACCOUNT NO.     11309021043                                                       Consideration: Utility
                                                                                               Long Island Power Authority                                                        Placed for Collection
                                                                                               455 Mill Road                                                                                                                                                                                1,423.09
                                                                                               Hewlett, NY 11557



                                                                                                          6 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $          3,031.21
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                         Case 10-79803-lrc                 Doc 1                                 Filed 07/06/10 Entered 07/06/10 11:36:37                                                        Desc Main
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                                                                                                         Susan Pistillo
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      21002490                                                          HIGH CREDIT AMOUNT IS ORIGINAL LOAN AMOUNT
                                                                                                                                                                                  PAID ACCOUNT/WAS 120 DAYS PAST DUE DATE
                                                                                               MARRIOTT OWNERSHIP                                                                 ACCOUNT 90 DAYS PAST DUE DATE/WAS 120 DAYS OR
                                                                                                                                                                                  MORE PAST DUE DATE
                                                                                               1200 US HIGHWAY 98 S STE                                                           PAID ACCOUNT/ZERO BALANCE                                                                          Notice Only
                                                                                               LAKELAND, FL 33801                                                                 CONVENTIONAL REAL ESTATE LOAN




                                                                                               ACCOUNT NO.      1A3GNU                                                            Collecting for L.I.P.A.
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                                                                                               NCO Financial Systems, Inc.
                                                                                               PO Box 15740                                                                                                                                                                          Notice Only
                                                                                               Wilmington, DE 19850-5740



                                                                                               ACCOUNT NO.      2000195149                                                        TRANSFERRED TO ANOTHER LENDER
                                                                                               SAXON MORTGAGE SERVICE                                                             CONVENTIONAL REAL ESTATE LOAN
                                                                                               4708 MERCANTILE DR N                                                               PREVIOUS STATUS 08
                                                                                                                                                                                                                                                                                     Notice Only
                                                                                               FORT WORTH, TX 76137



                                                                                               ACCOUNT NO.      35463249                                                          Consideration: Medical Services
                                                                                               The Emory Clinic, Inc.
                                                                                               PO Box 102398                                                                                                                                                                                  67.00
                                                                                               Atlanta, GA 30368-2398



                                                                                                ACCOUNT NO.     374312223                                                         CHARGED OFF ACCOUNT
                                                                                                                                                                                  ACCOUNT CLOSED BY CREDIT GRANTOR
                                                                                               VERIZON NEW YORK INC                                                               UTILITY COMPANY
                                                                                               500 TECHNOLOGY DR                                                                  BAD DEBT; PLACED FOR COLLECTION; SKIP
                                                                                                                                                                                  CHARGE OFF AMOUNT IS 1341
                                                                                                                                                                                                                                                                                            3,107.00
                                                                                               WELDON SPRING, MO 63304



                                                                                                          7 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $          3,174.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $         13,634.42
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                           Case 10-79803-lrc               Doc 1       Filed 07/06/10 Entered 07/06/10 11:36:37                               Desc Main
                                                                                               B6G (Official Form 6G) (12/07)                          Document Page 24 of 57

                                                                                                       Susan Pistillo                                                             Case No.
                                                                                               In re
                                                                                                                         Debtor                                                                               (if known)

                                                                                                       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                           Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                 names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                 contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                 guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                       Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                       NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                          OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                       NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                                Addison Place                                                                 Apartment Lease through 11/1/2010
                                                                                                5100 Abbotts Bridge Road
                                                                                                Alpharetta, GA 30005
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                                                                                                          Case 10-79803-lrc              Doc 1        Filed 07/06/10 Entered 07/06/10 11:36:37                              Desc Main
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                                                                                               In re   Susan Pistillo                                                            Case No.
                                                                                                                        Debtor                                                                              (if known)


                                                                                                                                           SCHEDULE H - CODEBTORS
                                                                                                   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                               debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                               property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                               Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                               name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                               commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                               commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                               parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                               Fed. Bankr. P. 1007(m).
                                                                                                   Check this box if debtor has no codebtors.



                                                                                                             NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR


                                                                                                  Michael Marcinanis                                                           OCWEN LOAN SERVICING L
                                                                                                  15 Princeton Ave.                                                            12650 INGENUITY DR
                                                                                                  Hewlett, NY 11557                                                            ORLANDO, FL 32826
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                                                                                                  Thomas Chernow                                                               Capital One Auto Finance
                                                                                                  312 Addison Lane                                                             3905 North Dallas Pkwy
                                                                                                  John's Creek, GA 30005                                                       Plano, TX 75093
                                                                                                             Case 10-79803-lrc          Doc 1        Filed 07/06/10 Entered 07/06/10 11:36:37                            Desc Main
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                                                                                               B6I (Official Form 6I) (12/07)


                                                                                                            Susan Pistillo
                                                                                               In re                                                                                       Case
                                                                                                                       Debtor                                                                                 (if known)
                                                                                                                       SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                               The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                               filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                               calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                Status:   Divorced              RELATIONSHIP(S): Son, daughter                                                    AGE(S): 20, 4
                                                                                                Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                Occupation
                                                                                                Name of Employer                  Crawford and Company
                                                                                                How long employed                 6
                                                                                                Address of Employer               1001 Summit Boulevard                                                          N.A.
                                                                                                                                  Atlanta, GA 30319

                                                                                               INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                               1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                               7,085.71
                                                                                                                                                                                                          $ _____________                   N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                     (Prorate if not paid monthly.)
                                                                                               2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                          $ _____________                   N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               3. SUBTOTAL                                                                                                      7,085.71
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
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                                                                                               4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                1,821.01
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                       a.   Payroll taxes and social security
                                                                                                                                                                                                                1,161.31
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                       b.   Insurance
                                                                                                       c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                       d.                    401k
                                                                                                            Other (Specify:___________________________________________________________)                           555.96
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                3,538.28
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              3,547.43
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                  (Attach detailed statement)
                                                                                               8. Income from real property                                                                                         0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                  debtor’s use or that of dependents listed above.
                                                                                               11. Social security or other government assistance
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                  ( Specify)
                                                                                               12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               13. Other monthly incomeSon's car payment                                                                         357.99
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                                   (Specify)                                                                                                        0.00
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________
                                                                                               14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                 357.99           $ _____________
                                                                                                                                                                                                                                           N.A.
                                                                                               15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 3,905.42
                                                                                                                                                                                                           $ _____________                 N.A.
                                                                                                                                                                                                                                  $ _____________

                                                                                               16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                              3,905.42
                                                                                                   from line 15)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                      on Statistical Summary of Certain Liabilities and Related Data)

                                                                                               17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                        None
                                                                                                           Case
                                                                                                  B6J (Official    10-79803-lrc
                                                                                                                Form 6J) (12/07)           Doc 1       Filed 07/06/10 Entered 07/06/10 11:36:37                             Desc Main
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                                                                                                In re Susan Pistillo                                                                      Case No.
                                                                                                                         Debtor                                                                             (if known)

                                                                                                         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                            Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                 filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                 calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                       Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                       labeled “Spouse.”


                                                                                               1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                             899.00
                                                                                                          a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                          b. Is property insurance included?                 Yes ________ No ________
                                                                                               2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                             200.00
                                                                                                              b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                              90.00
                                                                                                              c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                             230.00
                                                                                                                        Bundle-hm phone, internet, cable
                                                                                                              d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                             179.00
                                                                                               3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                              50.00
                                                                                               4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                             300.00
                                                                                               5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                              50.00
                                                                                               6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                              50.00
                                                                                               8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                             250.00
                                                                                               9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
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                                                                                               10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                          a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                             327.00
                                                                                                          e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                               (Specify)          Car tags                                                                                                          $ ______________
                                                                                                                                                                                                                                              45.00
                                                                                               13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                          a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                             357.99
                                                                                                          b. Other school & day care for daughter                                                                                   $ ______________
                                                                                                                                                                                                                                             510.00
                                                                                                          c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                             200.00
                                                                                               16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               17. Other                Son's food & books for college                                                                              $______________
                                                                                                                                                                                                                                             150.00
                                                                                               18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                           3,887.99
                                                                                               if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                               19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                         None


                                                                                               20. STATEMENT OF MONTHLY NET INCOME
                                                                                                       a. Average monthly income from Line 15 of Schedule I                                                                             3,905.42
                                                                                                                                                                                                                                 $ ______________
                                                                                                       b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                        3,887.99
                                                                                                       c. Monthly net income (a. minus b.)                                                                                                 17.43
                                                                                                                                                                                                                                 $ ______________
                                                                                                          Case 10-79803-lrc               Doc 1      Filed 07/06/10 Entered 07/06/10 11:36:37                           Desc Main
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                                                                                                     B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                          United States Bankruptcy Court
                                                                                                                                                    Northern District of Georgia
                                                                                                                 Susan Pistillo
                                                                                                    In re                                                                                        Case No.
                                                                                                                                                     Debtor
                                                                                                                                                                                                 Chapter        7

                                                                                                                                                    SUMMARY OF SCHEDULES
                                                                                               Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                               I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                               claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                               Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                          AMOUNTS SCHEDULED
                                                                                                                                              ATTACHED
                                                                                                 NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                 A – Real Property
                                                                                                                                              YES                     1            $   422,000.00

                                                                                                 B – Personal Property
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                                                                                                                                              YES                     3            $     31,220.00

                                                                                                 C – Property Claimed
                                                                                                     as exempt                                YES                     1

                                                                                                 D – Creditors Holding
                                                                                                    Secured Claims                            YES                     1                                  $     454,242.43

                                                                                                 E - Creditors Holding Unsecured
                                                                                                     Priority Claims                          YES                     3                                  $      14,515.33
                                                                                                    (Total of Claims on Schedule E)
                                                                                                 F - Creditors Holding Unsecured
                                                                                                     Nonpriority Claims                       YES                     8                                  $      13,634.42

                                                                                                 G - Executory Contracts and
                                                                                                     Unexpired Leases                         YES                     1

                                                                                                 H - Codebtors
                                                                                                                                              YES                     1

                                                                                                 I - Current Income of
                                                                                                     Individual Debtor(s)                     YES                     1                                                        $     3,905.42

                                                                                                 J - Current Expenditures of Individual
                                                                                                     Debtors(s)                               YES                     1                                                        $     3,887.99


                                                                                                                                      TOTAL                           21           $   453,220.00        $     482,392.18
                                                                                                     Case
                                                                                                 Official    10-79803-lrc
                                                                                                          Form                   Doc 1 (12/07)
                                                                                                               6 - Statistical Summary   Filed            07/06/10 Entered 07/06/10 11:36:37                      Desc Main
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                                                                                                                                     United States Bankruptcy Court
                                                                                                                                                      Northern District of Georgia

                                                                                                            In re       Susan Pistillo                                                      Case No.
                                                                                                                                                      Debtor
                                                                                                                                                                                            Chapter       7

                                                                                               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                    If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                               §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                               information here.

                                                                                               This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                               Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                  Type of Liability                                                         Amount

                                                                                                  Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                     0.00
                                                                                                  Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                  Schedule E)
                                                                                                                                                                                14,515.33
                                                                                                  Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
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                                                                                                  Schedule E) (whether disputed or undisputed)                                       0.00
                                                                                                  Student Loan Obligations (from Schedule F)                                $        0.00
                                                                                                  Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                  Obligations Not Reported on Schedule E                                             0.00
                                                                                                  Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                            $        0.00
                                                                                                  (from Schedule F)

                                                                                                                                                                   TOTAL    $   14,515.33


                                                                                                 State the Following:
                                                                                                  Average Income (from Schedule I, Line 16)                                 $    3,905.42
                                                                                                  Average Expenses (from Schedule J, Line 18)                               $    3,887.99
                                                                                                  Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                  22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                 7,443.70



                                                                                                 State the Following:
                                                                                                  1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                  ANY” column
                                                                                                                                                                                            $   442,962.43

                                                                                                  2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                  PRIORITY” column.
                                                                                                                                                                                14,515.33

                                                                                                  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                         $
                                                                                                  PRIORITY, IF ANY” column                                                                             0.00

                                                                                                  4. Total from Schedule F                                                                  $    13,634.42
                                                                                                  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $   456,596.85
                                                                                                     B6 (OfficialCase
                                                                                                                  Form 610-79803-lrc         Doc
                                                                                                                         - Declaration) (12/07)                                  1       Filed 07/06/10 Entered 07/06/10 11:36:37                                                                 Desc Main
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                                                                                                               Susan Pistillo
                                                                                                     In re                                                                                                                                        Case No.
                                                                                                                                            Debtor                                                                                                                                   (If known)

                                                                                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                         23 sheets, and that they
                                                                                                                I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                     are true and correct to the best of my knowledge, information, and belief.



                                                                                                      Date       7/5/2010                                                                                                  Signature:          /s/ Susan Pistillo
                                                                                                                                                                                                                                                                              Debtor:


                                                                                                      Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                     (Joint Debtor, if any)

                                                                                                                                                                                                                                  [If joint case, both spouses must sign.]
                                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                accepting any fee from the debtor, as required by that section.


                                                                                                Printed or Typed Name and Title, if any,                                                                                             Social Security No.
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                                                                                                of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                 If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                 who signs this document.




                                                                                                 Address

                                                                                                 X
                                                                                                                      Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                               18 U.S.C. § 156.
                                                                                               -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                     I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                               or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                               in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                               shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                               Date                                                                                                                 Signature:


                                                                                                                                                                                                                                     [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                       Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                                                                                  B7 (Official Form 7) (04/10)
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                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                                     Northern District of Georgia

                                                                                               In Re Susan Pistillo                                                                                 Case No.
                                                                                                                                                                                                                     (if known)


                                                                                                                                          STATEMENT OF FINANCIAL AFFAIRS

                                                                                                               This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                     the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                     information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                     filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                     provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                     indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                     or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                     R. Bankr. P. 1007(m).

                                                                                                               Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                     must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                     additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                     case number (if known), and the number of the question.

                                                                                                                                                                  DEFINITIONS

                                                                                                                "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                     individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                     the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                     the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                     employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
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                                                                                                     in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                     their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                     percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                     such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                1. Income from employment or operation of business

                                                                                                                State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                    None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                spouses are separated and a joint petition is not filed.)

                                                                                                                        AMOUNT                                                SOURCE

                                                                                                         2010              41000

                                                                                                         2009             107909

                                                                                                         2008              75373
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                                                                                                          2.   Income other than from employment or operation of business

                                                                                               None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                          of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                          particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                          12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                          separated and a joint petition is not filed.)

                                                                                                           AMOUNT                                                                SOURCE




                                                                                                          3. Payments to creditors
                                                                                               None

                                                                                                          Complete a. or b., as appropriate, and c.
                                                                                                          a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                          or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                          counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                               NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                              PAYMENTS                                PAID                  OWING
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                                                                                               None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                          constitutes or is affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk
                                                                                                          (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                          alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                          (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                               *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                               NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
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                                                                                               None

                                                                                                       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                       for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                       include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                       and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                             DATES OF                      AMOUNT PAID             AMOUNT STILL
                                                                                                 AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                                 OWING


                                                                                                       4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                               None    a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                       preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                       and a joint petition is not filed.)


                                                                                                CAPTION OF SUIT               NATURE OF PROCEEDING                           COURT OR                               STATUS OR
                                                                                               AND CASE NUMBER                                                          AGENCY AND LOCATION                         DISPOSITION

                                                                                               Brea Atlanta Gardens,        Civil Suit on account                          Superior Court                       Judgment/Garnishment
                                                                                               LLC                                                                         Fulton County, GA
                                                                                               d/b/a The Gardens at
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                                                                                               Sandy Springs,
                                                                                               v.
                                                                                               Martha Pistillo and
                                                                                               Susan Pistillo


                                                                                               None    b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                       13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                       unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF                                       DATE OF                                      DESCRIPTION AND
                                                                                                PERSON FOR WHOSE BENEFIT                                    SEIZURE                                     VALUE OF PROPERTY
                                                                                                  PROPERTY WAS SEIZED

                                                                                               Brea Atlanta Gardens, LLC                                                                       Garnishment
                                                                                               40 TECHNOLOGY PKWY                                                                              $589.21/pay period
                                                                                               SOUTH
                                                                                               SUITE #300
                                                                                               NORCROSS, GA 30092
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                                                                                                       5.   Repossessions, foreclosures and returns

                                                                                               None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                       lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                   NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                  ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                               CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                       6. Assignments and Receiverships

                                                                                               None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                       assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                       joint petition is not filed.)


                                                                                                       NAME AND                                    DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                      ADDRESS OF                                                                                       ASSIGNMENT
                                                                                                        ASSIGNEE                                                                                      OR SETTLEMENT
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                                                                                               None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                                                       NAME AND                          NAME AND LOCATION                              DATE OF                DESCRIPTION AND
                                                                                                      ADDRESS OF                         OF COURT CASE TITLE                             ORDER                VALUE OF PROPERTY
                                                                                                      CUSTODIAN                               & NUMBER



                                                                                                       7.   Gifts

                                                                                               None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                       case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                       member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                       12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                       unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                            RELATIONSHIP                           DATE OF                   DESCRIPTION AND
                                                                                                     ADDRESS OF                         TO DEBTOR, IF ANY                          GIFT                     VALUE OF GIFT
                                                                                               PERSON OR ORGANIZATION
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                                                                                                       8.   Losses

                                                                                               None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                       commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                       chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                       separated and a joint petition is not filed.)


                                                                                                  DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                   AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                  OF PROPERTY                                   INSURANCE, GIVE PARTICULARS

                                                                                               Car Accident                       Paid in full by insurance                                                        Feb 2010
                                                                                               Repairs were $1,900


                                                                                                       9.   Payments related to debt counseling or bankruptcy

                                                                                               None         List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                       for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                       bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                         NAME AND ADDRESS                         DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                             OF PAYEE                             NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                 OTHER THAN DEBTOR                                VALUE OF PROPERTY
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                                                                                               Kevin Cowart                                                                                 $39
                                                                                               The Cowart Law Firm P.C.                                                                     Credit Report
                                                                                               311 N. Main Street, Suite 200
                                                                                               Madison, GA 30650

                                                                                               Kevin Cowart                                                                                 $300
                                                                                               The Cowart Law Firm P.C.                                                                     Legal Fees
                                                                                               311 N. Main Street, Suite 200
                                                                                               Madison, GA 30650

                                                                                               Kevin Cowart                                                                                 $299
                                                                                               The Cowart Law Firm P.C.                                                                     Filing Fee
                                                                                               311 N. Main Street, Suite 200
                                                                                               Madison, GA 30650

                                                                                               InCharge Education Foundation,                                                               $30
                                                                                               Inc.                                                                                         Credit Counseling
                                                                                               2101 Park Center Dr.
                                                                                               Suite 310
                                                                                               Orlando, FL 32835
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                                                                                                         10. Other transfers

                                                                                               None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                         of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                         of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                      RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                        VALUE RECEIVED


                                                                                                         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                         to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                               None

                                                                                                      NAME OF TRUST OR OTHER DEVICE                               DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                                 TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                                 VALUE OF PROPERTY OR
                                                                                                                                                                                              DEBTOR'S INTEREST IN PROPERTY


                                                                                                         11. Closed financial accounts

                                                                                               None            List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
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                                                                                                         were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                         Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                         accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                         instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                         and a joint petition is not filed.)


                                                                                                        NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                       ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                       INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                        OR CLOSING


                                                                                                         12. Safe deposit boxes

                                                                                               None               List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                         valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                         chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                         is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND                       NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                        ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                      OR OTHER DEPOSITORY                     OR DEPOSITORY                                                SURRENDER, IF ANY
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                                                                                                        13. Setoffs

                                                                                               None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                        information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                        and a joint petition is not filed.)


                                                                                                      NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                     OF                                      OF
                                                                                                                                                                   SETOFF                                  SETOFF

                                                                                                        14. Property held for another person

                                                                                               None          List all property owned by another person that the debtor holds or controls.


                                                                                                          NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                       ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                        15. Prior address of debtor
                                                                                               None
                                                                                                               If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                        premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                        joint petition is filed, report also any separate address of either spouse.
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                                                                                                       ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY


                                                                                               15 Princeton Avenue                      Same                                                 2006-2009
                                                                                               Hewlett, NY 11557-1521


                                                                                                        16. Spouses and Former Spouses
                                                                                               None
                                                                                                            If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                        Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                        eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                        any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                      NAME
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                                                                                                       17. Environmental Sites

                                                                                                       For the purpose of this question, the following definitions apply:

                                                                                                       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                       wastes, or material.

                                                                                                                 "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                 presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                 "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                 hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                               None
                                                                                                       a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                       governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                       SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                      AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                       b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
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                                                                                               None

                                                                                                       SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                      AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                       c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                       with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                               None    was a party to the proceeding, and the docket number.


                                                                                                        NAME AND ADDRESS                               DOCKET NUMBER                               STATUS OR DISPOSITION
                                                                                                      OF GOVERNMENTAL UNIT


                                                                                                       18. Nature, location and name of business

                                                                                               None    a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                       businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                       managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                       which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                       preceding the commencement of this case.

                                                                                                       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                       voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                       voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                NAME           LAST FOUR DIGITS OF                  ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                               SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                OTHER INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.
                                                                                                               (ITIN)/ COMPLETE EIN
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                                                                                                                         b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                         U.S.C. § 101.
                                                                                                            None

                                                                                                                         NAME                                                                                                     ADDRESS




                                                                                                                                         [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                                     *    *     *     *    *     *


                                                                                                            [If completed by an individual or individual and spouse]

                                                                                                            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                            thereto and that they are true and correct.
                                                                                                           7/5/2010                                                                                       /s/ Susan Pistillo
                                                                                               Date                                                                            Signature
                                                                                                                                                                               of Debtor                  SUSAN PISTILLO




                                                                                                                                                                       0 continuation sheets attached
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                                                                                                                                                                     _____


                                                                                                                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                               rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                               have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                               in that section.




                                                                                               Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                               If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                               partner who signs this document.




                                                                                               Address

                                                                                               X
                                                                                               Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                               not an individual:

                                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                               or imprisonment or both. 18 U.S.C. §156.
                                                                                                           Case 10-79803-lrc           Doc 1   Filed 07/06/10 Entered 07/06/10 11:36:37               Desc Main
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                                                                                               B8 (Official Form 8) (12/08)


                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                               Northern District of Georgia
                                                                                                       Susan Pistillo
                                                                                               In re                                                          ,         Case No.
                                                                                                                              Debtor                                                      Chapter 7



                                                                                                                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                secured by property of the estate. Attach additional pages if necessary.)


                                                                                                  Property No. 1
                                                                                                 Creditor's Name:                                                  Describe Property Securing Debt:
                                                                                                  OCWEN LOAN SERVICING L                                             Former Residence
                                                                                                  12650 INGENUITY DR
                                                                                                  ORLANDO, FL 32826

                                                                                                  Property will be (check one):
                                                                                                            Surrendered                            Retained

                                                                                                  If retaining the property, I intend to (check at least one):
                                                                                                             Redeem the property
                                                                                                             Reaffirm the debt
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                                                                                                             Other. Explain _______________________________________________(for example, avoid lien
                                                                                                  using 11 U.S.C. §522(f)).

                                                                                                  Property is (check one):
                                                                                                             Claimed as exempt                                    Not claimed as exempt



                                                                                                  Property No. 2 (if necessary)
                                                                                                 Creditor's Name:                                                  Describe Property Securing Debt:
                                                                                                  Capital One Auto Finance                                           2009 Chevy HHR (2,500 miles)
                                                                                                  3905 North Dallas Pkwy
                                                                                                  Plano, TX 75093

                                                                                                  Property will be (check one):
                                                                                                            Surrendered                            Retained

                                                                                                  If retaining the property, I intend to (check at least one):
                                                                                                             Redeem the property
                                                                                                             Reaffirm the debt
                                                                                                             Other. Explain _______________________________________________(for example, avoid lien
                                                                                                  using 11 U.S.C. §522(f)).

                                                                                                  Property is (check one):
                                                                                                             Claimed as exempt                                    Not claimed as exempt
                                                                                                           Case 10-79803-lrc          Doc 1        Filed 07/06/10 Entered 07/06/10 11:36:37              Desc Main
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                                                                                                   PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                   Each unexpired lease. Attach additional pages if necessary.)



                                                                                                     Property No. 1
                                                                                                    Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                     Addison Place                                 Apartment Lease through              to 11 U.S.C. §365(p)(2)):
                                                                                                     5100 Abbotts Bridge Road                      11/1/2010
                                                                                                     Alpharetta, GA 30005                                                                  YES              NO


                                                                                                     Property No. 2 (if necessary)
                                                                                                    Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                        to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                           YES              NO


                                                                                                     Property No. 3 (if necessary)
                                                                                                    Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                        to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                           YES              NO

                                                                                                     0
                                                                                                    ______ continuation sheets attached (if any)
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                                                                                                   I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                   Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                         7/5/2010
                                                                                                   Date:_____________________________                          /s/ Susan Pistillo
                                                                                                                                                            Signature of Debtor




                                                                                                                                                            Signature of Joint Debtor
                                                                                                         Case 10-79803-lrc               Doc 1       Filed 07/06/10 Entered 07/06/10 11:36:37                             Desc Main
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                                                                                               B 201B (Form 201B) (12/09)
                                                                                                                                     United States Bankruptcy Court
                                                                                                                                                Northern District of Georgia



                                                                                               In re   Susan Pistillo                                                                       Case No.
                                                                                                                         Debtor                                                                                    (If known)



                                                                                                                       CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                           UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                 Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                         I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                debtor the attached notice, as required by § 342(b) of the Bankruptcy Code




                                                                                                 Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                 Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                    number of the officer, principal, responsible person,
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                                                                                                                                                                                    or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                    (Required by 11 U.S.C. § 110.)

                                                                                                 X
                                                                                                 Signature of Bankruptcy Petition Preparer or officer,
                                                                                                 Principal, responsible person, or partner whose Social
                                                                                                 Security number is provided above.




                                                                                                                                                          Certification of the Debtor
                                                                                                          I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                Code

                                                                                                 Susan Pistillo                                                                     X   /s/ Susan Pistillo                      7/5/2010
                                                                                                 Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                 Case No. (if known)                                                                X
                                                                                                                                                                                        Signature of Joint Debtor, (if any)           Date




                                                                                                 Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                 Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                 NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                 the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                 petition preparers on page 3 of Form B1 also include this certification.
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           Addison Place
           5100 Abbotts Bridge Road
           Alpharetta, GA 30005


           Allied Account Services Inc.
           422 Bedford Ave.
           Bellmore, NY 11710-3564


           Allstate Insurance Company
           P.O. Box 12055
           Roanoke, VA 24018


           American Security Insurance Company
           PO Box 50355
           Atlanta, GA 30302


           AMEX
           PO BOX 297871
           FORT LAUDERDALE, FL 33329


           BAC HOME LOANS SERVICI
           450 AMERICAN ST
           SIMI VALLEY, CA 93065


           BAC HOME LOANS SERVICI
           450 AMERICAN ST
           SIMI VALLEY, CA 93065


           BALLY TOTAL FITNESS
           12440 E IMPERIAL HWY #30
           NORWALK, CA 90650


           BANK OF AMERICA
           PO BOX 17054
           WILMINGTON, DE 19850


           BANK OF AMERICA
           PO BOX 17054
           WILMINGTON, DE 19850
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           Brea Atlanta Gardens, LLC
           40 TECHNOLOGY PKWY SOUTH
           SUITE #300
           NORCROSS, GA 30092


           Capital One Auto Finance
           3905 North Dallas Pkwy
           Plano, TX 75093


           CBCS
           PO Box 163250
           Columbus, OH 43216-3250


           CHASE
           PO BOX 15298
           WILMINGTON, DE 19850


           CHRYSLER FINANCIAL
           1 BLUE HILL PLZ STE 15
           PEARL RIVER, NY 10965


           CHRYSLER FINANCIAL
           5225 CROOKS RD STE 140
           TROY, MI 48098


           CITIBANKNA
           PO BOX 769006
           SAN ANTONIO, TX 78245


           CONNEXUS CREDIT UNION
           PO BOX 8026
           WAUSAU, WI 54402


           CONNEXUS CREDIT UNION
           PO BOX 8026
           WAUSAU, WI 54402


           CONSUMERS ENERGY GROUP
           222 VARNICK AVE
           BROOKLYN, NY 11237
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           Department of the Treasury
           Internal Revenue Service
           Atlanta, GA 39901-0010


           DISCOVER FIN SVCS LLC
           PO BOX 15316
           WILMINGTON, DE 19850


           Donald X. Clavin, Jr.
           Town of Hempstead
           200 N. Franklin Street
           Hempstead, New York 11550


           FORD CRED
           PO BOX BOX 542000
           OMAHA, NE 68154


           FORD CRED
           PO BOX BOX 542000
           OMAHA, NE 68154


           GEMB/PC RICHARD
           PO BOX 981439
           EL PASO, TX 79998


           GREEN POINT SAVINGS
           4160 MAIN ST
           FLUSHING, NY 11355


           HSBC BANK
           PO BOX 19360
           PORTLAND, OR 97280


           HSBC BANK
           PO BOX 19360
           PORTLAND, OR 97280


           HSBC BANK
           PO BOX 19360
           PORTLAND, OR 97280
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           HSBC MORTGAGE CORP USA
           2929 WALDEN AVE
           DEPEW, NY 14043


           I.C. System, Inc.
           PO Box 64437
           St. Paul, MN 55164-0437


           Johns Creek Surgery PC
           PO Box 347226
           Miami, FL 33234-7226


           KeySpan Gas East Corp.
           175 E Old Country Rd
           Hicksville, NY 11801-4257


           KOHLS/CHASE
           N56 W 17000 RIDGEWOOD DR
           MENOMONEE FALLS, WI 53051


           LONG BEACH ACCEPTANCE
           500 N STATE COLLEGE BLVD
           ORANGE, CA 92868


           Long Island American Water
           PO Box 371332
           Pittsburgh, PA 15250-7332


           Long Island Power Authority
           455 Mill Road
           Hewlett, NY 11557


           MARRIOTT OWNERSHIP
           1200 US HIGHWAY 98 S STE
           LAKELAND, FL 33801


           Michael Marcinanis
           15 Princeton Ave.
           Hewlett, NY 11557
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           NCO Financial Systems, Inc.
           PO Box 15740
           Wilmington, DE 19850-5740


           OCWEN LOAN SERVICING L
           12650 INGENUITY DR
           ORLANDO, FL 32826


           SAXON MORTGAGE SERVICE
           4708 MERCANTILE DR N
           FORT WORTH, TX 76137


           The Emory Clinic, Inc.
           PO Box 102398
           Atlanta, GA 30368-2398


           Thomas Chernow
           312 Addison Lane
           John's Creek, GA 30005


           VERIZON NEW YORK INC
           500 TECHNOLOGY DR
           WELDON SPRING, MO 63304
                                                                                                            Case 10-79803-lrc                 Doc 1         Filed 07/06/10 Entered 07/06/10 11:36:37                                   Desc Main
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                                                                                               B203
                                                                                               12/94
                                                                                                                                         United States Bankruptcy Court
                                                                                                                                                           Northern District of Georgia
                                                                                                       In re Susan Pistillo                                                                      Case No. ____________________
                                                                                                                                                                                                 Chapter           7
                                                                                                                                                                                                              ____________________
                                                                                                       Debtor(s)
                                                                                                                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                               1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                       and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                       rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                    1,500.00
                                                                                                       For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                         300.00
                                                                                                       Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                   1,200.00
                                                                                                       Balance Due ......................................……………………………………….................... $ ______________

                                                                                               2.      The source of compensation paid to me was:

                                                                                                                        Debtor                   Other (specify)
                                                                                               3.      The source of compensation to be paid to me is:
                                                                                                                        Debtor                   Other (specify)

                                                                                               4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                               associates of my law firm.

                                                                                                          I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
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                                                                                               of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                               5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                        a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                        b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                          CERTIFICATION

                                                                                                               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                            debtor(s) in the bankruptcy proceeding.

                                                                                                               7/5/2010                                                            /s/ Kevin Cowart
                                                                                                            ____________________________________                                 __________________________________________________
                                                                                                                           Date                                                                     Signature of Attorney
                                                                                                                                                                                   The Cowart Law Firm P.C.
                                                                                                                                                                                 __________________________________________________
                                                                                                                                                                                                    Name of law firm
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                                                                                                                                                                     According to the information required to be entered on this statement
                                                                                                                                                                     (check one box as directed in Part I, III, or VI of this statement):
                                                                                               In re   Susan Pistillo                                                               The presumption arises.
                                                                                                                         Debtor(s)                                                  The presumption does not arise.
                                                                                                                                                                                    The presumption is temporarily inapplicable.
                                                                                               Case Number:
                                                                                                                        (If known)

                                                                                                                    CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                              AND MEANS-TEST CALCULATION
                                                                                                In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
                                                                                                jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C
                                                                                                applies, each joint filer must complete a separate statement.

                                                                                                        Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
                                                                                                       If you are a disabled veteran described in the Veteran’s Declaration in this Part I, (1) check the box at the beginning of the
                                                                                                       Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3) complete
                                                                                                       the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                  1A
                                                                                                           Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
                                                                                                       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
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                                                                                                       defined in 11 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

                                                                                                       If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
                                                                                                       complete any of the remaining parts of this statement.
                                                                                                  1B
                                                                                                           Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                        Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                        of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                        § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                        (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                        time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                        this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                        Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                        top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                        to complete the balance of this form, but you must complete the form no later than 14 days after the date on
                                                                                                        which your exclusion period ends, unless the time for filing a motion raising the means test presumption
                                                                                                        expires in your case before your exclusion period ends.


                                                                                                  1C             Declaration of Reservists and National Guard Members. By checking this box and making the appropriate
                                                                                                        entries below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                        component of the Armed Forces or the National Guard

                                                                                                                        a.                I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                               I remain on active duty /or/
                                                                                                                                               I was released from active duty on ________________, which is less than 540 days before
                                                                                                                        this bankruptcy case was filed;
                                                                                                                                     OR

                                                                                                                        b.                I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                                  I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                        _______________, which is less than 540 days before this bankruptcy case was filed.
                                                                                                      Case 10-79803-lrc
                                                                                               B22A (Official               Doc 1
                                                                                                              Form 22A) (Chapter     Filed 07/06/10
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                                                                                                          Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                                                     Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                     a.        Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.

                                                                                                     b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                     penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
                                                                                                     living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                     Complete only Column A (“Debtor’s Income”) for Lines 3-11.

                                                                                                 2   c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                     Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

                                                                                                     d.     Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                     for Lines 3-11.

                                                                                                     All figures must reflect average monthly income received from all sources, derived during the       Column A       Column B
                                                                                                     six calendar months prior to filing the bankruptcy case, ending on the last day of the month        Debtor’s       Spouse’s
                                                                                                     before the filing. If the amount of monthly income varied during the six months, you must            Income         Income
                                                                                                     divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                 3   Gross wages, salary, tips, bonuses, overtime, commissions.                                      $    7,085.71 $          N.A.
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                                                                                                     Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                     Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
                                                                                                     than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                                     attachment. Do not enter a number less than zero. Do not include any part of the
                                                                                                 4   business expenses entered on Line b as a deduction in Part V.

                                                                                                          a.      Gross receipts                                     $                       0.00
                                                                                                          b.      Ordinary and necessary business expenses           $                       0.00
                                                                                                          c.      Business income                                    Subtract Line b from Line a
                                                                                                                                                                                                     $       0.00 $           N.A.
                                                                                                     Rent and other real property income. Subtract Line b from Line a and enter the
                                                                                                     difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
                                                                                                     not include any part of the operating expenses entered on Line b as a deduction in
                                                                                                     Part V.
                                                                                                5
                                                                                                          a.      Gross receipts                                     $                       0.00
                                                                                                          b.      Ordinary and necessary operating expenses          $                       0.00
                                                                                                          c.      Rent and other real property income                Subtract Line b from Line a     $       0.00 $           N.A.

                                                                                                6    Interest, dividends and royalties.                                                              $       0.00 $           N.A.
                                                                                                7    Pension and retirement income.                                                                  $       0.00 $           N.A.
                                                                                                     Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                     expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                                                8    that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                                     by your spouse if Column B is completed.                                                        $       0.00 $           N.A.
                                                                                                     Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                     However, if you contend that unemployment compensation received by you or your spouse
                                                                                                     was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                9    Column A or B, but instead state the amount in the space below:

                                                                                                      Unemployment compensation claimed to be                        0.00                 N.A.
                                                                                                      a benefit under the Social Security Act           Debtor $            Spouse $                         0.00             N.A.
                                                                                                                                                                                                     $              $
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                                                                                                     Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                     sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                     paid by your spouse if Column B is completed, but include all other payments of
                                                                                                     alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                               10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                     victim of international or domestic terrorism.
                                                                                                       a.    Son's car payment                                                    $      357.99
                                                                                                       b.                                                                         $         0.00
                                                                                                        Total and enter on Line 10                                                                     $    357.99    $       N.A.
                                                                                                     Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
                                                                                               11    Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
                                                                                                     total(s).                                                                                         $              $
                                                                                                                                                                                                           7,443.70           N.A.
                                                                                                     Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                               12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                     completed, enter the amount from Line 11, Column A.                                               $                   7,443.70
                                                                                                                          Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                               13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the
                                                                                                     number 12 and enter the result.                                                                              $       89,324.40
                                                                                                     Applicable median family income. Enter the median family income for the applicable state and
                                                                                               14    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                                     the bankruptcy court.)
                                                                                                                                           Georgia
                                                                                                     a. Enter debtor’s state of residence: _______________                                          3
                                                                                                                                                                b. Enter debtor’s household size: __________      $
                                                                                                                                                                                                                          60,887.00
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                                                                                                     Application of Section 707(b)(7).       Check the applicable box and proceed as directed.

                                                                                                            The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does
                                                                                               15           not arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

                                                                                                            The amount on Line 13 is more than the amount on Line 14.             Complete the remaining parts of this statement.


                                                                                                            Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).


                                                                                                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                                               16    Enter the amount from Line 12.                                                                               $        7,443.70
                                                                                                     Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income
                                                                                                     listed in Line 11, Column B that was NOT paid on a regular basis for the household expenses of the
                                                                                                     debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B
                                                                                                     income (such as payment of the spouse's tax liability or the spouse's support of persons other than the
                                                                                                     debtor or the debtor's dependents) and the amount of income devoted to each purpose. If necessary,
                                                                                                     list additional adjustments on a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                               17
                                                                                                       a.                                                                        $
                                                                                                       b.                                                                        $
                                                                                                       c.                                                                        $

                                                                                                     Total and enter on Line 17.                                                                                  $            0.00
                                                                                               18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           7,443.70
                                                                                                                                                                                                                  $

                                                                                                                       Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                     National Standards: food, clothing and items. Enter in Line 19A the “Total” amount from IRS
                                                                                               19A   National Standards for Food, Clothing and Other Items for the applicable household size. (This
                                                                                                     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                   $        1,152.00
                                                                                                       Case 10-79803-lrc            Doc 1      Filed 07/06/10 Entered 07/06/10 11:36:37
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                                                                                                     National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                                     Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                                     for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                                     clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                                     under 65 years of age, and enter in Line b2 the number of members of your household who are 65
                                                                                                     years or older. (The total number of household members must be the same as the number stated in
                                                                                                     Line 14b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and
                                                                                                     enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members
                                                                                               19B   65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount,
                                                                                                     and enter the result in Line 19B.

                                                                                                      Household members under 65 years of age             Household members 65 years of age or older

                                                                                                       a1.      Allowance per member            60.00      a2.    Allowance per member             144.00
                                                                                                       b1.      Number of members                   3      b2.    Number of members                    0
                                                                                                       c1.      Subtotal                       180.00      c2.    Subtotal                           0.00         $      180.00
                                                                                                     Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
                                                                                               20A   IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household
                                                                                                     size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)       $      522.00

                                                                                                     Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below,
                                                                                                     the amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and
                                                                                                     household size (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                     court); enter on Line b the total of the Average Monthly Payments for any debts secured by your home,
                                                                                                     as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an
                                                                                               20B   amount less than zero.            FULTON COUNTY
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                                                                                                     a.       IRS Housing and Utilities Standards; mortgage/rental expense    $                     1,445.00
                                                                                                              Average Monthly Payment for any debts secured by
                                                                                                     b.
                                                                                                              your home, if any, as stated in Line 42                          $                           0.00
                                                                                                     c.       Net mortgage/rental expense                                      Subtract Line b from Line a        $   1,445.00

                                                                                                     Local Standards: housing and utilities; adjustment. If you contend that the process set
                                                                                                     out in Lines 20A and 20B does not accurately compute the allowance to which you are entitled under
                                                                                                     the IRS Housing and Utilities Standards, enter any additional amount to which you contend you are
                                                                                                     entitled, and state the basis for your contention in the space below:
                                                                                                21


                                                                                                                                                                                                                  $        0.00
                                                                                                     Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                                     You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                                     operating a vehicle and regardless of whether you use public transportation.
                                                                                                     Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                                     expenses are included as a contribution to your household expenses in Line 8.
                                                                                               22A        0      1    2 or more.       ATLANTA - total includes extra $200 for 1 old vehicle
                                                                                                     If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                     Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from
                                                                                                     IRS Local Standards: Transportation for the applicable number of vehicles in the applicable
                                                                                                     Metropolitan Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/
                                                                                                     or from the clerk of the bankruptcy court.)                                                                  $      668.00

                                                                                                     Local Standards: transportation; additional public transportation expense.
                                                                                                     If you pay the operating expenses for a vehicle and also use public transportation, and you contend
                                                                                               22B   that you are entitled to an additional deduction for your public transportation expenses, enter on Line
                                                                                                     22B the "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is
                                                                                                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                  $        0.00
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                                                                                                    Local Standards: transportation ownership/lease expense; Vehicle 1. Check the
                                                                                                    number of vehicles for which you claim an ownership/lease expense. (You may not claim an
                                                                                                    ownership/lease expense for more than two vehicles.)
                                                                                                         1         2 or more.
                                                                                                    Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Transportation Standards:
                                                                                                    Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line
                                                                                                    b the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
                                                                                               23   subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                                      a.      IRS Transportation Standards, Ownership Costs                   $                      496.00
                                                                                                              Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                      b.                                                                  $
                                                                                                              as stated in Line 42                                                                      0.00
                                                                                                      c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.
                                                                                                                                                                                                                 $        496.00

                                                                                                    Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                    only if you checked the “2 or more” Box in Line 23.
                                                                                                    Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                    (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                                    that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
                                                                                                    from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                               24
                                                                                                       a.      IRS Transportation Standards, Ownership Costs                      $                 496.00
                                                                                                               Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                       b.
                                                                                                               as stated in Line 42                                               $                    0.00
                                                                                                       c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.       $       0.00
                                                                                                    Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
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                                                                                               25   for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self em-
                                                                                                                                                                                                                   $
                                                                                                    ployment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                1,821.02
                                                                                                     Other Necessary Expenses: involuntary deductions for employment. Enter the total
                                                                                                     average monthly payroll deductions that are required for your employment, such as retirement
                                                                                               26
                                                                                                     contributions, union dues, and uniform costs. Do not include discretionary amounts, such as
                                                                                                     voluntary 401(k) contributions.                                                                                 $       0.00
                                                                                                     Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                               27    actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                                                                                                                                                     $
                                                                                                     whole life or for any other form of insurance.                                                                        49.22
                                                                                                     Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                               28    you are required to pay pursuant to court order or administrative agency, such as spousal or child
                                                                                                     support payments. Do not include payments on past due obligations included in Line 44.                          $       0.00
                                                                                                     Other Necessary Expenses: education for employment or for a physically or
                                                                                                     mentally challenged child. Enter the total average monthly amount that you actually expend for
                                                                                               29    education that is a condition of employment and for education that is required for a physically or
                                                                                                     mentally challenged dependent child for whom no public education providing similar services is available.       $
                                                                                                                                                                                                                             0.00
                                                                                                     Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                               30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                                     educational payments.                                                                                           $    925.00
                                                                                                    Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                               31   actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                                    that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                                    amount entered in Lin 19B. Do not include payments for health insurance or health savings
                                                                                                    accounts listed in Line 34.                                                                                      $     50.00
                                                                                                     Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                               32    amount that you actually pay for telecommunication services other than your basic home telephone and
                                                                                                     cell phone service—such as pagers, call waiting, caller id, special long distance, or internet service—to
                                                                                                     the extent necessary for your health and welfare or that of your dependents. Do not include any
                                                                                                     amount previously deducted.                                                                                     $    230.00
                                                                                               33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                              $   7,538.24
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                                                                                                                      Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                                Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                                     Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                                     monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                                     your spouse, or your dependents.

                                                                                                        a.       Health Insurance                                                                 $                         684.01
                                                                                                        b.       Disability Insurance                                                             $                            0.00
                                                                                                34      c.       Health Savings Account                                                           $                            0.00
                                                                                                                                                                                                                                         $              684.01
                                                                                                        Total and enter on Line 34.

                                                                                                        If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                        space below:
                                                                                                        $              0.00

                                                                                                     Continued contributions to the care of household or family members. Enter the total
                                                                                                35   average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                                     support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                                     family who is unable to pay for such expenses.                                                                                      $
                                                                                                                                                                                                                                                          0.00

                                                                                                     Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                                36   expenses that you actually incurred to maintain the safety of your family under the Family Violence
                                                                                                     Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                                                                                                                                                                         $                0.00
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                                                                                                     be kept confidential by the court.

                                                                                                     Home energy costs Enter the total average monthly amount, in excess of the allowance specified by
                                                                                                37   IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                     provide your case trustee with documentation of your actual expenses, and you must
                                                                                                     demonstrate that the additional amount claimed is reasonable and necessary.                                                         $                0.00

                                                                                                     Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                     expenses that you actually incur, not to exceed $147.92* per child, for attendance at a private or public
                                                                                                38   elementary or secondary school by your dependent children less than 18 years of age. You must
                                                                                                     provide your case trustee with documentation of your actual expenses and you must explain
                                                                                                     why the amount claimed is reasonable and necessary and not already accounted for in the IRS
                                                                                                     Standards.                                                                                                                          $                0.00

                                                                                                     Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                                     food and clothing expenses exceed the combined allowances for food and clothing (apparel and services)
                                                                                                39   in the IRS National Standards, not to exceed 5% of those combined allowances. (This information is
                                                                                                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate
                                                                                                     that the additional amount claimed is reasonable and necessary.                                                                     $               42.00

                                                                                                     Continued charitable contributions. Enter the amount that you will continue to contribute in
                                                                                                40
                                                                                                     the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170
                                                                                                     (c)(1)-(2)                                                                                                                          $                0.00
                                                                                                41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.                                         $              726.01
                                                                                                      *Amount subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                                                      Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                      property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                      Average Monthly Payment, and check whether the payment includes taxes or insurance. The Average
                                                                                                      Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60
                                                                                                      months following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on
                                                                                                      a separate page. Enter the total Average Monthly payments on Line 42.

                                                                                               42             Name of Creditor               Property Securing the Debt            Average        Does payment
                                                                                                                                                                                   Monthly        include taxes
                                                                                                                                                                                   Payment        or insurance?
                                                                                                     a.                                                                        $                      yes      no
                                                                                                          Son's Car Payment             2008 Chevy HHR                                  357.99
                                                                                                     b.                                                                        $                      yes      no
                                                                                                                                                                                          0.00
                                                                                                     c.                                                                        $                      yes      no
                                                                                                                                                                                          0.00
                                                                                                                                                                              Total: Add Lines
                                                                                                                                                                              a, b and c                                   357.99
                                                                                                                                                                                                                    $
                                                                                                    Other payments on secured claims. If any of the debts listed in Line 42 are secured by your
                                                                                                    primary residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                                    dependents, you may include in your deduction 1/60th of any amount (the “cure amount”) that you must
                                                                                                    pay the creditor in addition to the payments listed in Line 42, in order to maintain possession of the
                                                                                                    property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                                    repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
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                                                                                                    additional entries on a separate page.
                                                                                               43
                                                                                                                  Name of Creditor              Property Securing the Debt             1/60th of the Cure Amount
                                                                                                    a.                                                                             $                         0.00
                                                                                                    b.                                                                                                       0.00
                                                                                                                                                                                   $
                                                                                                    c.                                                                             $                         0.00
                                                                                                                                                                                                                    $        0.00

                                                                                                    Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                               44   claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                                    your bankruptcy filing. Do not include current obligations, such as those set out in Line 28.
                                                                                                                                                                                                                    $        0.00
                                                                                                    Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
                                                                                                    the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                                                    administrative expense.

                                                                                                     a.       Projected average monthly Chapter 13 plan payment.                   $                  0.00
                                                                                                              Current multiplier for your district as determined under
                                                                                               45
                                                                                                     b.       schedules issued by the Executive Office for United States
                                                                                                              Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                              or from the clerk of the bankruptcy court.)                          x                  5.2 %
                                                                                                     c.       Average monthly administrative expense of Chapter 13 case            Total: Multiply Lines a and b
                                                                                                                                                                                                                    $        0.00
                                                                                               46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                      $      357.99
                                                                                                                                  Subpart D: Total Deductions from Income
                                                                                               47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                     $   8,622.24
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                                                                                                                  Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                               48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                                $          7,443.70
                                                                                               49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                                     $          8,622.24
                                                                                               50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the
                                                                                                    result.                                                                                                                               $      -1,178.54
                                                                                               51   60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
                                                                                                    number 60 and enter the result.                                                                                                       $     -70,712.40
                                                                                                    Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                        The amount on Line 51 is less than $7,075*. Check the box for “The presumption does not arise” at the top of
                                                                                                        page 1 of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

                                                                                               52       The amount set forth on Line 51 is more than $11,725*. Check the “Presumption arises” box at the top of
                                                                                                        page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                        the remainder of Part VI.
                                                                                                        The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder of
                                                                                                         Part VI (Lines 53 through 55).

                                                                                               53   Enter the amount of your total non-priority unsecured debt                                                                            $             N.A.

                                                                                               54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter
                                                                                                    the result.                                                                                                                           $             N.A.
                                                                                                    Secondary presumption determination. Check the applicable box and proceed as directed.
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                                                                                                       The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does
                                                                                                       not arise” at the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                               55
                                                                                                       The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The
                                                                                                       presumption arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also
                                                                                                       complete Part VII.

                                                                                                                                   Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                    Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                                    health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                                    income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                                    average monthly expense for each item. Total the expenses.

                                                                                                                                           Expense Description                                                              Monthly Amount
                                                                                               56
                                                                                                          a.                                                                                                         $                        0.00
                                                                                                          b.                                                                                                         $                        0.00
                                                                                                          c.                                                                                                         $                        0.00
                                                                                                                                                                 Total: Add Lines a, b and c                                                  0.00

                                                                                                                                                  Part VIII: VERIFICATION
                                                                                                    I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                    both debtors must sign.)

                                                                                                         Date:    7/5/2010                                  Signature:              /s/ Susan Pistillo
                                                                                                                                                                                        (Debtor)
                                                                                               57
                                                                                                         Date:                                              Signature:
                                                                                                                                                                                      (Joint Debtor, if any)



                                                                                                    *Amounts are subject to adjustment on 4/1/2013, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                   Form 22 Continuation Sheet
                                                                                               Income Month 1                                         Income Month 2

                                                                                               Gross wages, salary, tips...        7,085.71    0.00   Gross wages, salary, tips...        7,085.71     0.00
                                                                                               Income from business...                  0.00   0.00   Income from business...                 0.00     0.00
                                                                                               Rents and real property income...        0.00   0.00   Rents and real property income...       0.00     0.00
                                                                                               Interest, dividends...                   0.00   0.00   Interest, dividends...                  0.00     0.00
                                                                                               Pension, retirement...                   0.00   0.00   Pension, retirement...                  0.00     0.00
                                                                                               Contributions to HH Exp...               0.00   0.00   Contributions to HH Exp...              0.00     0.00
                                                                                               Unemployment...                          0.00   0.00   Unemployment...                         0.00     0.00
                                                                                               Other Income...                        357.99   0.00   Other Income...                      357.99      0.00



                                                                                               Income Month 3                                         Income Month 4


                                                                                               Gross wages, salary, tips...        7,085.71    0.00   Gross wages, salary, tips...        7,085.71     0.00
                                                                                               Income from business...                  0.00   0.00   Income from business...                 0.00     0.00
                                                                                               Rents and real property income...        0.00   0.00   Rents and real property income...       0.00     0.00
                                                                                               Interest, dividends...                   0.00   0.00   Interest, dividends...                  0.00     0.00
                                                                                               Pension, retirement...                   0.00   0.00   Pension, retirement...                  0.00     0.00
                                                                                               Contributions to HH Exp...               0.00   0.00   Contributions to HH Exp...              0.00     0.00
                                                                                               Unemployment...                          0.00   0.00   Unemployment...                         0.00     0.00
                                                                                               Other Income...                        357.99   0.00   Other Income...                      357.99      0.00
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                                                                                               Income Month 5                                         Income Month 6

                                                                                               Gross wages, salary, tips...        7,085.71    0.00   Gross wages, salary, tips...        7,085.71     0.00
                                                                                               Income from business...                  0.00   0.00   Income from business...                 0.00     0.00
                                                                                               Rents and real property income...        0.00   0.00   Rents and real property income...       0.00     0.00
                                                                                               Interest, dividends...                   0.00   0.00   Interest, dividends...                  0.00     0.00
                                                                                               Pension, retirement...                   0.00   0.00   Pension, retirement...                  0.00     0.00
                                                                                               Contributions to HH Exp...               0.00   0.00   Contributions to HH Exp...              0.00     0.00
                                                                                               Unemployment...                          0.00   0.00   Unemployment...                         0.00     0.00
                                                                                               Other Income...                        357.99   0.00   Other Income...                      357.99      0.00



                                                                                                                            Additional Items as Designated, if any




                                                                                                                                               Remarks
